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Caption in compliance with D.N.J. LBR 9004-1(b)
NORGAARD, O’BOYLE & HANNON
184 Grand Avenue
Englewood, NJ 07631                                            Order Filed on December 20, 2022
(201) 871-1333                                                 by Clerk
                                                               U.S. Bankruptcy Court
Attorneys for Debtor-in-Possession                             District of New Jersey
By: Brian G. Hannon (BH -3645)
 bhannon@norgaardfirm.com

 In Re:                                    UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF NEW JERSEY
 Empire Holding Company, LLC                    NEWARK VICINAGE

           Debtor.                                Chapter 11

                                           Case No. 22-17152 JKS

                                           Hearing Date: December 20, 2022

   ORDER AUTHORIZING SALE OF PROPERTY, ALLOWING LEGAL FEES AND
                      BROKERS’ COMMISSION



          The relief set forth on the following pages, numbered (2) through (4), is hereby

ORDERED.




DATED: December 20, 2022
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Debtor: EMPIRE HOLDING COMPANY, LLC
Case No. 22-17152 (JKS)
ORDER AUTHORIZING SALE OF PROPERTY AND ALLOWING LEGAL FEES AND
BROKERS’ COMMISSION
______________________________________________________________________________

       THIS MATTER came to the attention of the Court upon the motion of the Debtor for an

Order Authorizing the Sale of certain Real Property and Allowing Legal Fees and Broker’s

Commission. The Parties having agreed to the submission of this order to the Court under Fed. R.

Bankr. P. 9019 on notice to all creditors and parties in interest, and good cause having been shown:

       It is ORDERED as follows:

       1.      Pursuant to 11 U.S.C. Sec. 363(b), et seq., the Debtor is authorized to sell the real

property located at the street addresses commonly known as 128 and 136 Mehrhof Road, Little

Ferry, New Jersey, and also known as Block 86 Lot 1-6 and Lot 7, Block 91, Lot 1.01, (the

“Property”), to Hyunsook Leeoh and Hana K Inc. (“Purchaser”) under the contract signed by the

Debtor and Purchaser dated October 27, 2022, for the sum of $2,415,000.00.

       2.      The Debtor shall pay TD Bank, N.A., first mortgage holder on the Property, the sum

total of $2,100,000.00 in full payment and satisfaction of the claim that TD Bank, N.A. has against

the Debtor and the Property. Upon receipt of payment as outlined herein, TD Bank N.A. shall file all

necessary documents required to discharge any mortgage which same has against the Property.

Nothing herein shall be construed as a waiver by TD Bank of its right to collect its deficiency

balance from any other parties obligated on the indebtedness to TD Bank, including Napoleon

Yfantis and Empire Little Ferry, LLC.

       3.      The Debtor shall pay the U.S. Small Business Administration (the “SBA”) the sum

total of $50,000.00 for the release of SBA’s lien against the Property. SBA shall retain an unsecured

deficiency claim against the Debtor pursuant to 11 U.S.C. Sec. 506(a)(1) and nothing in this

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Order shall release (or be deemed to satisfy) any claims SBA has against any other parties

(including guarantors), which claims are expressly preserved.          Upon receipt of payment as

outlined herein, the U.S. Small Business Administration shall file all necessary documents required

to discharge any mortgage which same has against the Property.

       4.      At the closing of the sale of the Property, USBKCUST/PC8 Firsttrust Bank’s Tax

Sale Certificate No. 22-00007 shall be paid in full through the Borough of Little Ferry tax

collector’s office pursuant to the Tax Sale Law, N.J.S.A. 54:5-1 et seq., and the redemptive

amount (the “Redemptive Amount”) of the Tax Lien shall be calculated by the Borough of Little

Ferry tax collector as required by N.J.S.A. 54:5-60.

       5.      Pursuant to 11 U.S.C. Sec. 328(a) and 503(b)(1), Jack Koumbis has been appointed

as broker to the Debtor. The proposed broker commission for this sale was approved at 6% or the

total amount of $144,900.00. However, in an attempt to work with the parties and facilitate this sale,

the broker has agreed to accept a broker commission of 5% or the total amount of $120,750.00,

which sum shall be taken from the gross sales proceeds of the sale and is hereby awarded to Jack

Koumbis.

       6.      Pursuant to 11 U.S.C. Sec. 328(a) and 503(b)(1), the Fazzio Law Offices have been

appointed as closing counsel to the Debtors in connection with the sale of the property. The

proposed counsel fee, the amount of $7,500.00, shall be taken from the gross sales proceeds and held

in escrow by the Debtor’s attorney pending the approval of same by way of fee application filed by

the Fazzio Law Offices.

       7.      The sales of the properties are made by a Debtor-in-Possession in bankruptcy, and

are therefore exempt from any realty transfer tax under N.J.S.A. 46:15-5 et seq. and the Bulk

Sales Act.

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         8.    The Debtor shall (i) file all required monthly operating reports through the date of

entry of this Order, and (ii) pay all quarterly fees due pursuant to 28 U.S.C. § 1930 and any

interest due pursuant to 31 U.S.C. § 3717.

         9.    The stay set forth in Rules 4001(a)(3) and 7062 of the Federal Rules of Bankruptcy

shall not apply to this Order and the Order shall be effective immediately.

         10.   Notwithstanding Bankruptcy Rule 6004(h) this Order is effective immediately upon

entry.




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